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     FRANK ALIOTO
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. 2:11 CR 190 MCE
 9
                                                     )
                                                     )
10          Plaintiff,                               )
                                                     )       APPLICATION AND ORDER
11
     v.                                              )       REQUESTING RELEASE OF
                                                     )       DEFENDANT'S PASSPORT
12
     FRANK ALIOTO,                                   )
                                                     )
13
                                                     )
            Defendant.                               )
14
                                                     )
                                                     )
15
                                                     )
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17          On September 13, 2013, a motion to dismiss the indictment against Mr. Alioto in the

18   above captioned matter was granted. Mr. Alioto was ordered to submit his passport to the clerk's

19   office as part of the conditions of his release. Accordingly, now that the matter has been

20   dismissed, Mr. Alioto requests the release and return of his passport.

21   DATED: September 17, 2013                    /s/ John R. Manning
                                                  Attorney for Defendant
22
                                                  Frank Alioto
23

24   IT IS SO ORDERED.
25
     Dated: September 17, 2013
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